                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:09-00235
                                                 )           JUDGE CAMPBELL
JEREMIAH ODELL BRADSHAW                          )


                                             ORDER

        Pending before the Court are the Defendant’s Motion To Remove Detainer And To Grant

All Federal Sentence Of 18 Months as Expired; Request For Writ Of Mandamus (Docket No.

116), and the Government’s Response in opposition (Docket No. 118). Through the Motion, the

Defendant requests that the Court order the removal of a federal detainer lodged against him;

order the Bureau of Prisons to give him certain sentencing credit; and order that his federal

sentence be served concurrently to a later-imposed state sentence. For the reasons set forth

below, the Motion is DENIED.

        On January 24, 2011, the Defendant pled guilty, pursuant to a Plea Agreement, to

conspiracy to commit theft of mail, in violation of 18 U.S.C. § 371. (Docket Nos. 77, 80). On

April 19, 2011, the Defendant was sentenced to 18 months of imprisonment. (Docket Nos. 101,

102, 103). The record indicates that the Defendant was in the custody of Cheatham County Jail

when he was ordered to appear on the charges in this case, and remained in federal custody until

the proceedings were completed. (Docket Nos. 22, 29). The Presentence Investigation Report

indicates that the Defendant had pending state charges in Cheatham County for aggravated

robbery, criminal impersonation, and jail escape at the time he was sentenced. (Docket No. 120,

at ¶¶ 59, 60).




 Case 3:09-cr-00235        Document 122         Filed 04/15/14     Page 1 of 3 PageID #: 402
       According to the Defendant’s Motion, after the sentencing hearing in this case, he was

released into the custody of the State of Tennessee. The Defendant indicates that he was

subsequently sentenced by the State, and that the state sentence was ordered to run concurrently

to the federal sentence.

       The Defendant’s first request, that the federal detainer be removed, is now moot.

According to documents filed by the Government (Docket No. 118-1), the Defendant was

released by the State of Tennessee to federal authorities pursuant to a federal detainer on March

10, 2014.

       The Defendant also requests that the Bureau of Prisons be ordered to give him credit for

time spent in state custody such that his federal sentence would be satisfied. That request is

denied. Courts have held that a prisoner’s challenge to the execution of his sentence, including

the determination of credit for time served, must be filed under 28 U.S.C. § 2241 in the district

court having jurisdiction over the prisoner’s custodian. See, e.g., Sutton v. United States, 172

F.3d 873 (6th Cir. 1998); Doan v. Lamanna, 28 Fed.Appx. 297, 2001 WL 1299260 (6th Cir. Aug.

10, 2001); United States v. Ford, 16 Fed.Appx. 314, 2001 WL 861737 (6th Cir. June 20, 2001).

See also Setser v. United States, 132 S. Ct. 1463, 1473 (2012). The Defendant’s Motion has not

been brought under Section 2241, nor does it indicate compliance with the procedural

requirements of Section 2241. In addition, Defendant’s filing indicates that he is not incarcerated

in the Middle District of Tennessee. Thus, the Court does not have jurisdiction of the

Defendant’s challenge to any Bureau of Prison’s determination.

       The Defendant’s request that the Court amend the judgment to order that his sentence run

concurrent to the state sentence is also denied. A district court has the authority to alter a


                                                  2


 Case 3:09-cr-00235         Document 122         Filed 04/15/14      Page 2 of 3 PageID #: 403
sentence only in certain narrow circumstances: (1) to correct a “clear error” within fourteen days

after imposition of sentence, Fed.R.Crim.P. 35(a); (2) to correct a clerical error at any time,

Fed.R.Crim.P. 36; (3) to grant a motion made by the Government for a reduced sentence,

Fed.R.Crim.P. 35(b); (4) to correct a sentence upon remand from a higher court, 18 U.S.C. §

3742; (5) to apply a Sentencing Guideline made retroactive, or to the extent otherwise expressly

permitted by statute, 18 U.S.C. § 3582(c)(1)(B), (c)(2); and (6) upon a motion by the Director of

the Bureau of Prisons, 18 U.S.C. § 3582(c)(1). United States v. Penson, 526 F.3d 331(6th Cir.

2008); United States v. Robinson, 368 F.3d 653, 656-57 (6th Cir. 2004). This case does not fall

within any of these categories, and therefore, the Defendant has not established a legal basis for

amending the judgment.

       It is so ORDERED.


                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




                                                 3


 Case 3:09-cr-00235         Document 122        Filed 04/15/14      Page 3 of 3 PageID #: 404
